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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  LEXINGTON DIVISION

ROBERT COTTINGHAM,

             Plaintiff,

v.                                                   CASE NO.:

CITIGROUP, INC.,

             Defendant.
                                       /

                          COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW, Plaintiff, ROBERT COTTINGHAM, by and through the undersigned

counsel, and sues Defendant, CITIGROUP INC., and in support thereof respectfully alleges

violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

                                           INTRODUCTION

        1.        The TCPA was enacted to prevent companies like Defendant from invading

American citizen’s privacy and to prevent abusive “robo-calls.”

        2.        “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740 (2012).

        3.        “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the

wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).
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       4.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower Consumers

Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications Commission,

(May 27, 2015), https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                                 JURISDICTION AND VENUE

        5.     Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

        6.     Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014).

       7.      The alleged violations described herein occurred in Scott County, Kentucky.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

                                   FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person, and citizen of the State of Kentucky, residing in Scott

County, Kentucky.

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        9.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th Cir. 2014).

        10.    Defendant is a corporation which conducts business in the State of Kentucky

located at 306 West Main Street, Suite 512, Frankfort, Kentucky 40601.

        11.    Defendant called Plaintiff hundreds of times in an attempt to collect an alleged

debt.

        12.    Defendant attempted to collect an alleged debt from Plaintiff by this campaign of

telephone calls.

        13.    Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (502) ***-1338 and was the called party and recipient of Defendant’s calls.

        14.    Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified the calls

were being initiated from, but not limited to, the following number: (469) 914-7211 and when

that number is called, a pre-recorded message answers, “Thank you for calling Best Buy Credit

Card Center. This call may be monitored or recorded for quality and training purposes.”

        15.    Upon information and belief, some or all of the calls Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”

which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter

“auto-dialer calls”). Plaintiff will testify that he knew it was an auto-dialer because of the vast

number of calls he received and because he heard a pause when he answered his phone before a




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voice came on the line identifying an agent/representative of Defendant and he received

prerecorded messages from Defendant.

       16.     On several occasions over the last four (4) years, Plaintiff instructed Defendant’s

agent(s)/representative(s) to stop calling his cellular telephone.

       17.     In or about March 2017, Plaintiff answered a call from Defendant and spoke to an

agent/representative of defendant demanding that Defendant stop calling his cellular telephone

number.

       18.     Despite clearly and unequivocally revoking any consent Defendant may have

believed they had to call Plaintiff on his cellular telephone, Defendant continued to place

automated calls to Plaintiff.

       19.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling sever times in the same hour, during one day, and on back to back days, with such

frequency as can reasonably be expected to harass.

       20.     In or about June 2017, Plaintiff again answered an automated call from Defendant

and demanded that the calls to his cellular telephone cease to Defendant’s agent/representative.

       21.     All of Plaintiff’s demands for the harassment to end were ignored.

       22.     Due to the tremendous volume of calls Plaintiff received over a lengthy period of

time, he was not able to properly catalogue each and every call, however attached hereto as

Exhibit A is a small sampling of some of the automated calls Plaintiff received to his cellular

telephone from Defendant.




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        23.    Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s cellular telephone in

this case.

        24.    Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as they did to Plaintiff’s cellular telephone in this case,

with no way for the consumer, or Defendant to remove the number.

        25.    Defendant’s corporate policy is structured so as to continue to call individuals like

Plaintiff, despite these individuals explaining to Defendant they do not wish to be called.

        26.    Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.

        27.    Defendant has numerous complaints against it across the country asserting that its

automatic telephone dialing system continues to call despite being requested to stop.

        28.    Defendant has had numerous complaints against it from consumers across the

country asking to not be called, however Defendant continues to call these individuals.

        29.    Defendant’s corporate policy provided no means for Plaintiff to have Plaintiff’s

number removed from Defendant’s call list.

        30.    Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge the called parties do not wish to be called.

        31.    Not one of Defendant’s telephone calls placed to Plaintiff was for “emergency

purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

        32.    Defendant willfully and/or knowingly violated the TCPA with respect to Plaintiff.




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       33.     From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion

upon his right of seclusion.

       34.     From each and every call without express consent placed by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of his cellular

telephone line and cellular telephone by unwelcome calls, making the telephone unavailable for

legitimate callers or outgoing calls while the telephone was ringing from Defendant’s call.

       35.     From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of his time.

For calls he answered, the time he spent on the call was unnecessary as he repeatedly asked for

the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the telephone

and deal with missed call notifications and call logs that reflect the unwanted calls. This also

impaired the usefulness of these features of Plaintiff’s cellular telephone, which are designed to

inform the user of important missed communications.

       36.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls

that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

these features of Plaintiff’s cellular telephone, which are designed to inform the user of

important missed communications.




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        37.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone resulted in the injury of unnecessary expenditure of Plaintiff’s cellular

telephone’s battery power.

        38.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone where a voice message was left which occupied space in Plaintiff’s telephone

or network.

        39.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel, namely his cellular

telephone and his cellular telephone services.

        40.     As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress and aggravation.

                                            COUNT I
                                     (Violation of the TCPA)

        41.     Plaintiff fully incorporates and realleges paragraphs one (1) through forty (40) as

if fully set forth herein.

        42.     Defendant willfully violated the TCPA with respect to Plaintiff, specifically for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that Plaintiff wished for the calls to stop

        43.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).



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       WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, treble

damages, enjoinder from further violations of these parts and any other such relief the court may

deem just and proper.

                                             Respectfully submitted,

                                             /s/ Amy M. Ferrera
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